             Case 3:22-mc-80072-SK Document 13-5 Filed 06/08/22 Page 1 of 3




     Lindsey Barnhart (Bar No. 294995)
     COVINGTON & BURLING LLP
     3000 El Camino Real
 3   5 Palo Alto Square, 10th Floor
     Palo Alto, CA 94306
 4   Telephone: +1 (650) 632-4700
     Facsimile: +1 (650) 632-4806
     Email: lbarnhart@cov.com
 6   Attorneys for Respondent J.P. Morgan
 7   Chase National Corporate Services, Inc.

 8

 9
                                      UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
12

13
      In re Ex Parte Application of
14

15    OLANREWAJU SURAJU and THE HUMAN
      AND ENVIRONMENTAL DEVELOPMENT
16    AGENDA,
                                                      CASE NO. 3:22-mc-80072-SK
17                                    Applicants,
                                                      DECLARATION OF ANDREW SOUKUP
18
      For an Order Pursuant to 28 U.S.C. § 1782       IN SUPPORT OF J.P. MORGAN CHASE
19    Granting Leave to Obtain Discovery from         NATIONAL CORPORATE SERVICES,
                                                      INC.'S OPPOSITION TO APPLICATION
20    YAHOO!, INC. and J.P. MORGAN CHASE,             FOR LEAVE TO OBTAIN DISCOVERY
      INC.,                                           UNDER 28 U.S.C. § 1782
21
                                      Respondents,
22

23    For use in Foreign Proceedings.

24
25

26

27

28
      DECLARATION OF ANDREW SOUKUP                                   Case No. 3:22-MC-80072-SK
      ISO OPPOSITION TO 28 U.S.C. § 1782
      APPLICATION
                Case 3:22-mc-80072-SK Document 13-5 Filed 06/08/22 Page 2 of 3




1           I, Andrew Soukup, declare as follows:
 2          1.      I am an attorney at Covington & Burling LLP, counsel for Respondent J.P. Morgan Chase
3    National Corporate Services, Inc. in this action. I have personal knowledge of the facts set forth herein
4    and, if called upon to testify, could and would testify competently thereto.
5           2.      I submit this declaration in support of J.P. Morgan Chase National Corporate Services,
 6   Inc.'s Opposition to the Application for Leave to Obtain Discovery Under 28 U.S.C. § 1782 filed by
 7
     Applicants Olranrewaju Suraju and the Human and Environmental Development Agenda.
            3.      Attached as Exhibit 1 is a true and correct copy of a letter from Paul Hoffman, Catherine
 9   Sweetser, and John Washington of Schonbrun Seplow Harris Hoffman & Zeldes LLP, to Stacey Friedman,
10   Executive Vice President and General Counsel, JPMorgan Chase & Co., dated November 22, 2021.
11          4.      Attached as Exhibit 2 is true and correct copy of an email from Andrew Soukup, Covington
12   & Burling LLP, to Catherine Sweetser, Schonbrun Seplow Harris Hoffman & Zeldes LLP, dated March
13   2, 2022.
14          5.      Attached as Exhibit 3 is a true and correct copy of an email (with attachment) from
15   Catherine Sweetser, Schonbrun Seplow Harris Hoffman & Zeldes LLP, to Jordan Moran, Covington &
16   Burling LLP, dated December 13, 2021.
17          6.      Attached as Exhibit 4 is a true and correct copy of an email (with attachments) from
18   Catherine Sweetser, Schonbrun Seplow Harris Hoffman & Zeldes LLP, to Andrew Soukup, Covington &
19   Burling LLP, dated January 26, 2022.
20          7.      Attached as Exhibit 5 is a true and correct copy of a Certificate identifying J.P. Morgan
21   Chase National Corporate Services, Inc.'s place of incorporation and principal place of business, which I
22   was provided by my client in this matter.

23
24
25

26
27

28
      DECLARATION OF ANDREW SOUKUP                          1                   Case No. 3:22-MC-80072-SK
      ISO OPPOSITION TO 28 U.S.C. § 1782
      APPLICATION
           Case 3:22-mc-80072-SK Document 13-5 Filed 06/08/22 Page 3 of 3




1         I declare under penalty of perjury that the foregoing is true and correct.
2         Executed on June 8, 2022
3
4
                                                          B :
5                                                                   drew Soukup

6
 7

8
 9
10
11
12
13
14
15
16




19

20

21
22
23
21




27



     DECLARATION OF ANDREW SOUKUP                          2                  Case No. 3:22-MC-80072-SK
     ISO OPPOSITION TO 28 U.S.C. § 1782
     APPLICATION
